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EXHIBIT A
aN TO:

First Guardian Title & Escrow, La.

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WHEN RECOS?

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Return Fo:

Tax Map Reference #:

American,fliome Mortgage 9G-2-35
4520 Breadhollow Road RPC/Parcetl ID #:
Mel le, NY¥ 11747 54~1668499
Prepared By:

Megan Shea ED TR copy

5160 Parkstone Drive CERTIF

Suite 150A

Chantilly, VA 20151

[Space Above This Line For Recording Data]

DEED OF TRUST

MIN 190024200012019259

The following information, es further defined below, is provided in accordance with Virginia law:

This Deed of Trust is given by EDDY RAMIREZ

Borrower {trustor), to Joy H Coffey
American Brokers Condvit

Trustee, for the benefit of Mortgage Electronic Registration Systems, Inc. as beneficiary.
DEFINITIONS

Words used in tnutliple sections of this document are defined below and other words sre defined in Sections
3,11, 13, 18, 20 and 21. Certain miles regerding the usage of words used in this document tre also provided

in Section 16.

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VIRGINIA-Single Femily- Franke Mue/Freddle Mac UNIFORM INSTRUMENT WITH MERS Form 307 1/01
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(A) "Security Instrument” means this document, which isdaied March 10, 2006 ,
together with all Riders to this document.

(R) "Borrower" is EDDY RAMIREZ

Borrower is the trustor under this Security Instrument.
(C) "Lender" is American Brokers Conduit

Lender is 2 Corporation
orgaoized nod existing under the fawsof State of New York
Lender's address is 538 Broadhollow Road, Melville, NY 11747

(D) “Frustee" is Joy H Coffey

Trustee (whether ont or more persons) is a Virginia resident and/or a United Stotes- or Virginia-chartered
corporation whose principal office is located in Virginia. © Trusiee’s atldress is
1604 Spring Hill Road, Suite #110, Vienna, VA 22182

"Trustee" is

Trusise (whether one or more persons) is a Virginia resident and/or a United States- or Virginin-chartered
corporation whose principn! office is located in Virginin. © Trustee's address is

(E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
solely a5 a nomince for Leader and Lender's successors ond assigns. MERS fs the beneficiary under this
Security Instrument. MERS is organized and cxisting under te laws of Delaware, and hns oo aifdress and
telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (B8B} 679-MERS.

(F} "Note" means the promissory note signed by Borrower and dated March 10, 2006
The Note states that Borrower owes Lender Three Hundred Twenty Seven Thousand Six

Nundred Forty Two and No/190 Dallars
(U.S. § 327,642.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Peyments and to pay the debt in full sot Inter than April 2, 2036 » The interest rate

sited in the Note is 5ix and Three Quarters Percent

( 6.750 5h).
Jf this Security Instrument is an adjustable rate morigage loan, this initial rate is subject to change in
accordance with the attached Adjustable Rate Rider,

(G) “Property” means the property that is described below under the heading "Transfer of Rights in the
Property.”

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(H) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and all sums due uader this Sccurity Instrument, plus interest.

(J) *Riders" means all Riders 10 this Security Instrument that ore executed by Borrower. The following
Tuders ore to be executed by Borrower [check box as applicable]:

Adjustable Rate Rider [__] Condominium Rider [__] Second Home Rider
Balloon Rider [x] Planned Unit Development Rider {_)1-4 Family Rider
VA Rider L_| Biweekly Payment Rider Ex | Other(s) [specify]

Prepayment Rider
Interest-Only Addendum to Adjustable Rate Ridar

(D "Applicable Law" means all controlling applicable federal, state and local statues, regulations,
ordinances sod administrative rules and orders (that have the effect of inw) us well es all applicable final,
non-appealable judicial opinions.

{K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
charges thet arc imposed on Borrower or the Property by 2 condominium association, homeowners -
pssocintion or similar organization.

(L} "Electronic Fonds Transfer" means any transfer of fuads, other thon # transaction originated by check,
draft, or similar paper instrament, which is initiated through on electronic terminal, telephonic instrument,
computer, or magnetic tape so as to order, instruct, or authorize a financial institution (o debit or credit an
aceaunt. Such term inciudes, but is ont limited 10, point-of-sale transfers, putomoted teller machine
transactions, transfers initiated by telephone, wire transfers, ond sutomated clearinghouse Iransters-

(MM) "Escrow Items” menas those items that are described in Section 3.

(N) "Miscellancous Proceeds” means any compensation, settlement, sward of damages, of precesds paid by
any third party (other than insurance procecds paid under the caverages described in Section 45) for: (D
damage io, or déstmuction of, the Property; (i) condemnation or other taking of all or any part of the Property;
(li) conveyance in licu of condemnation; of (iv) miscepresentations of, or ornissions as to, the value and/or
condition of the Property.

(0} “Morignge Insurance" menns insurance protecting Lender against the nonpayment of, or default on, the
Loan. ‘

‘() "Periodic Payment" means the tegulurly scheduled nmauni due for (i} principal and Interest under the
Note, plus (ij) any amounts under Section 3 of ibis Security Instrumeat.

(Q) “RESPA” means the Real Estate Setlement Procedures Act (32 U.S.C.Section 260% et seq.) and its
implementing reguiotion, Regulation X (24 C.F.R.Part 3900), 95 they might be omeaded from ume to time,
or any additional or successor lepislatinn or tegulotion that governs the sume subject matter. As used ip this
Security Instrument, "RESPA" refers to all requirements and restrictious that arc imposed in regard to a
“federally related mortgage Joon" even if the Losa does not qualify as a “federally related mortgage Joan”
under RESPA.

{it} "Suceessar in Interest of Borrower" means any party thal bas inken itfe to the Property, whether or not
that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

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TRANSFER OF RIGHTS JN THE PROPERTY

The beaeficinry of this Security Instrument is MERS (solely 2s nominee for Lender and Lender's successors
aod assigns) aad ihe successors and assigas of MERS. This Security Instrument secures to Lender: (i)
the repayment of the Loao, and all renewals, extensions ond modifications of the Note; ond (if) the
performance of Borrower's covenants and agreements under this Security Instrument and the Note. For this

purpose, Borrower ineyocably grants ond conveys to Trustee, in tmust, with power of sale, the
following deseribed property located inthe County [Type of Recoriling Jurisdicdea)
of King George (Name of Recording Jurisdiction) <

SER PRELIMINARY TITLE REPORT

SEE ATTACHED LEGAL DESCRIPTION

Tax ID #: XX-XXXXXXX
which currently has the address of

4227 BERKLEY COURT, KING GEORGE (Stree!)
King George [Clty/County} , Virginia 22485 [Zip Code]
("Property Address)":

TOGETHER WITH all the improvements now or hereafter erceted oa the property, and nll easements,
eppurienances, and fixtures now or bereafier 9 port of the property, All replacements and additions shall also
be covered by this Security Iestrument. All of the foregoing is referred to in this Securily Instrument as the
"Property." Harrower understands and ngrees Wat MERS holds only Jegal title to the interests graaled by
Borrower in this Security Jastrument, bul, if necessary to comply with law or custom, MERS (as nominee for
Lender and Lender's successors and assigns} hos the right: to exercise any or all of those Interests, including,
but not limited 1o, the right to foreclose and sell the Property; and lo lake ony action required of Lender
including, but not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is Inwfully scised of the estate hereby conveyed and has
the right to grant end convey the Property and thet the Property is uneacumbered, except for encumbrances of
record. Borrower warrants and will defend generally the tile to the Property against oll claims and demands,
subject lo nay encumbrances of record.

THIS SECURITY INSTRUMENT combines unifonn covenants for nationnl use and oon-uniform
covenunts wiih limited variations by jurisdiction to constitute a uniform security instrurnent covering real
property.

UNIFORM COVENANTS. Borrower ant! Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay wheo dut the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Jiems
pursuant lo Section 3. Payments due under the Note and this Security Tostrument shall be made in U.S.

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currency. However, if any check or other instrument received by Lender os payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that aay or all subsequent pnyments
due under ibe Nove and this Security Instrument be made ip one of more of the following forms, as selected
by Lender: (a) cash; (b) money order; (c} certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon oo institution whose deposits are insured by 8 federal agency,
instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments ore deemed received by Lender when received at the location designoted in the Note or al
such other Iocation as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insuificicot to bring
the Loan current. Lender may accept any payment or partial paymenl insufficient to bring he Loan current,
without waiver of any tights hercunder or prejudice to its rights to refuse such payment or partial payments in
the fulure, but Lender is pot obligated to apply such payments at the time such payments are gecepied. Hi each
Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on usapplicd
funds. Lender may bold such upapplicd funds until Borrower makes payment to bring the Lona current. If
Borrower docs oot do so within o reasonnble period of time, Lender shall either apply such funds or retura
Uiem to Borrower, If pot applied earlier, such funds will be applied to the outstanding: principal balance unter
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the
future against Lender shall relieve Borrower from making payments due under the Note ond this Security
Instrument or performing the cavenanis and agreements secured by this Security Instrument.

2. Applicalion of Payments or Proceeds, Except as otherwise described in this Seciloa 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest duc under the
Note; (b) principal duc under the Note; (c} amounts duc under Section 3. Such payments shall be applied to
each Periodic Payment in the order in which it became duc. Any remaining amounts shall be applied first to
Inte charges, second to ony other amounts due wader this Security Instrument, aod then to reduce the principal
batunes of the Nats.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes
sufficient amount to pay any Iale charge due, the payment may be applied to the delinquent payment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower to the repayment! of the Periodic Payments if, and to the extent that, each payment can be paid in
full. ‘To the extent that spy excess exists after the payment is applied to the full payment of one or more
Periodic Payments, such excess may be applied to any Inte charges due. Voluntary prepayments shall be
applied first to soy prepayment charges and then as described in the Notc.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the duc date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items, Borrower sholl pay to Lender on the day Perlodic Payments ore duc under
ihe Nole, watil the Note is paid in full, a sum {the "Funds”) to provide for payment of umounts due for: {z)
laxes gud assessments and other items whith cun attsin pricrity over this Security Instrument os 2
lice or encumbrance on the Property; (b) Jeasehold paymeats or ground rents on the Property,
if ony; (c) premiums for aay and oll insurance required by Lender under Section 5; and (d) Mortgage
Jngurincc premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of
Morigege Insurance premiums in aceerdance with the provisions of Section 10. These items are
called "Escrow Tlems." At origination or at any time during the term of the Lono, Lender may require that
Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, aod such dues, fees
sod assessrpents shal! be an Escrow Hem. Borrower sball proraplly furnish to Lender all notices of amounts to
be paid under this Section, Borcower shall pay Lender the Fuods for Escrow Hems unless Leader waives
Borrower's obligation to pay the Punds for ony or oll Escrow items. Leader may waive Borrower's obligation
wo pay to Lender Funds for any or all Escrow ems nt any time, Any such waiver may only be in writing. In
the event of such waiver, Borrower shall pny directly, when and where payable, the amounts due for any
Escrow Ttems for which payment of Funds bas been waived by Lender ond, if Lender requires, shall furnish
to Lender reeeipts evidencing such payment within such dme period os Lender moy require, Borrower's
obligation to make such payments and to provide receipts shell for all purposes be deemed to be a covenant
and apreement contained in this Security Instrumeal, o5 the phrase “covenant and agreement" is used in
Section 9. Hf Borrower is obligated to pay Escrow Items directly, pursuant to « waiver, and Borrower
foils to pay the amount due for an Escrow Jem, Lender may exercise its rights wader Section 9 and pay
such amount aod Borrower shall then be obligated under Section 9 to repay to Lender any such

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amount. Lender may revoke the wniver as to any of al] Escrow ‘lems at eny lime by 2 notice piven in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such
amounts, that are thea required under this Section 3.

Lentler may, at any lime, collect und hold Funds in ag amount (a) sufficient to permit Lender to apply
ihe Funds at the time specified under RESPA, and (b) sot to exceed the Maximum amount a lender can
require under RESPA. Lender shell estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Jiems or otherwise in necordance wilh Applicable Law.

The Funds shall be held io an institution whose deposits ace insured by a federal agency, instrumentality,
or catity (including, Leader, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Punds to pay the Escrow Jtems oo later than the time specified under
RESPA. Lender shall not charge Borrower for holding and applying the Puads, annually analyzing the
escrow secount, or verifying the Escrow Hems, unless Lender pays Borrower interest on the Funds end
Applicable Law permits Lendec to make such charge. Unless an agreement is made in writing or Applicable
Low requires interest to be paid on the Fuads, Lender shall not be required to pay Borrower pay interesl or
carnings on the Funds. Borrower and Lender can apres in writing, bowever, thal interest. shall be paid on the
Funds, Lender shall give to Borrower, without charge, on annual accounting of the Funds as required by
RESPA.

If there is a surplus of Funds held in escrow, a5 defined under RESPA, Lender shall account io
Borrower for the excess funds in secordance with RESPA., If there is a shoringe of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrower os required by RESPA, and Borrower shell pay to
Lender the amount necessary io make up the shortage in accordance with RESPA, bul in uo more than 12
monthly payments, If there is o deficieacy of Funds held in escrow, os defined under RESPA, Lender shall
actify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make uj
the deficiency in accordance with RESPA, bot in no more than 12 monthly poyments.

Upon poyment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4, Charges; Liens. Horrower shall pay all taxes, asscssments, charges, fiors, aod impositions
attributable to the Property which can attain priority over this Security Instrument, leaschold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
extent thet these dems are Escrow Teme, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promplly discharge any licn which hos priority over this Seenrity Instrument unless
Borrower: (n) agrees in writing to the payment of the obligation secured by the en in a manacr acceptable to
Lender, but only so long as Borrower is performing such agreement, (b) contests the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operac to prevent the
enforcement of the lien while those proceedings are peoding, but opty until such proceetlings are concludcd;
or (c) sccures from the holder of the licn an apgreemeat satisfactory to Lender subordinating the licn 10 this
Security Instrument. If Lender determines that any, part of the Property is subject to a Hea which can oltnin
priority over this Securily Instrument, Lender may give Borrower a ootice identifying the lien, Within 10
days of the date on which that notice is given, Borrower shall satisfy ite licn ar inke one or more of the
actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Leoder in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing of hereafter erected op the
Property insured against Joss by fire, hazards jocluded wilhin the term "extended covernge,” and any other
hazards including, but oot limiled to, cacthquakes and floods, for which Lender requires insurance. This
jnsurance shalt be maintained In the amounts (including deductible Jevels) nad for the periods that Lender
requires, What Lender requires pursunnot to the preceding sentences can change during the term of the Loan,
The insurance cartier providing the insurance shall be chosen by Borrower subject wo Leoder's right to
disapprove Borrower's choice, which right shall oot be exercised unrcasonably. Leader may
require Borrower to pay, io connection with this Loon, either: (n) a one-time charge for flood zone
determination, certification and tracking services; or (b) # one-time charge for Nood zone determination and
certification services and subsequent charges cach time reconppings or similar chooges occur which
reasonably might affect such determination or certification. Borrower shall elso be responsible for the

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payment of apy fees imposed by the Federal Emergeocy Managemeet Agency in connection with the review
of any Mood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain eny of the coverages described above, Lender may obtain insurance
coverage, al Lender's option and Borrower's expense. Lender is under no obligution to purchase any
particular type or emownt of coverage. Therefore, such coverage shall caver Lender, but might or might nai
protect Borrower, Borrower's equity in the Property, or the contents of the Property, oguinst any risk, hazard
ar linbility ond might provide greater or lesser covernge than was previously in cffect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly cxcecd the cost of
insurance that Borrower could Haye obtained. Any amounts disbursed by Lender under this Section 5 shall
become additlooal debt of Boreower secured by this Security Instrument. These amounts shall bear interest at
the Note role from the date of disbursement end shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall Include a standard mortpage clause, and shall nome Lender as
mortgagee and/or as an additional loss payee. Lender shnll have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
tenewal nolices. If Borrower obtains any form of insurance coverage, oot olberwise required by Lender, for
damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall
name Lender as mortgagee and/or as an additional loss payee.

Ip the event of loss, Borrower shall give prompi uotics to the insurnace carrier and Lender. Lender may
make proof of loss if not made promplly by Borrower, Unless Lender and Borrower otherwise ogree in
writing, any insurasce proceeds, whelher of not the underlying insurance was required by Lender, shall be
applied to tcstorntion or repair of the Property, if the restoration or repair [s economically feasible and
Lender's security is not lessened, During such repair nnd restoration period, Lender shall have the right to
hold such insurance proceeds uotil Leoder has had an opportunity to inspect such Property to cosure the work
hos been compleled to Lender's salisfaction, provided that such inspection shell be undertaken promplly.
Lender may disburse proceeds for the repairs aed restoration in a single payment or in series of progress
payments os the work is completed. Unless an agreement is made in writing or Applicable Law requires
interest to be paid on such insurance. proceeds, Leoder shall not be required to pay Borrower any interest or
earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall oot be
paid out of ihe insurance proceeds aad shall be the sole obligation of Borrower, If the restoration or repair is
nol cconoiically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to
the sums secured by this Security Instrument, whether or pot lhen duc, with the excess, if nay, paid to
Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2,

lf Borrower abandons the Property, Leader may file, negotiate and settle any available insurance claim
eotl related matters. If Borrower does not respood within 30 days to a notice from Lender thot the insurance
carrier ius offered to settle a cloim, thea Lender may oegotinte and settle the claim. The 30-day peciod will
begin when the notice ig given. In either event, or if Lender acquires the Property under Section 22 or
otbenvise, Borrower bereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount
not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
rights (other than the right to any refund of uoeamed premiums paid by Borrower) ueder all insurance
policies cavering the Property, insofar 2s such rights are applicable to the coverage of the Property. Lender
Tay use the insurnoce proceeds cilher to repair or restore the Property or to pay amounts unpaid under the
Note or this Security Instrument, whether or oot theo duc.

6. Occupancy. Borrower shal) occupy, establish, nnd use ihe Property as Borrower's principal residence
within 60 days after the exteulign of this Security Jnstrument and shall continue to occupy the Property as
Borrower's principal residence for at Ieast one year after the daic of occupancy, unless Leader otherwise
ngrees in writing, which consent shall not be unreasonably withheld, or unless extenuating citcumstances
exist which are beyond Borrower's control,

7. Preservation, Maintenance and Protection of the Property; Inspections, Borrower shall sol
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower Is residing in the Property, Borrower shall mointain the Property in order to prevent
ibe Property from deteriorating ar decreasing ip value due to its condition. Uniess it is determined pursuant lo
Scetion 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property
if damoged to avoid Further deterioration or damage. If insurance or condemnation proceeds are paid in

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connection with damage to, or the taking of, the Property, Borrower sdall be responsible for repairing or
restoring the Property only if Lender bas released proceeds for such purposes. Leader may disburse proceeds
for the repairs nad restorntion in o single payment or in a series of progress payments as the work is
completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable ecatries wpan and inspections of the Property. If it has
rensonable cause, Lender mey inspect the interior of the improvements on the Property, Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause,

B. Borrower’s Loan Application, Borrower shall be in default if, during the Loan application process,
Borvower or soy persons or catities acting at the direction of Borrower or with Borrower's knowledge or
consent gave materially false, misleading, or inaccurate information or statcnents to Lender (or failed to
provide Lender with material information) in connection with the Loan, Materisl representations include, but
are not fimited to, representations conccraing Borrower's occupancy of the Property as Borrower's principal
residence,

9. Protection of Lender’s Interest in the Property ond Rights Under this Security Instrument. If
(a) Borrower falls to perform the covenants ond agreements contained in this Security Instrument, (b) there is
a lege] proceeding thet might signifienaily affect Lender's interest In the Property and/or rights under this
Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
eoforcement of a lien which may altain priority over this Security Instrument or lo enforce laws or
regulations), or (c) Borrower has abandoned the Property, thea Leader may do and pay for whatever is
reasopubls or oppropriate to protect Lender's interest in the Property and rights under this Security
tostrument, including protecting and/or assessing the value of the Property, end securing and/or cepalring
the Property. Lender's actions can include, but ore nol limited to: (a) paying any sums secured by a lca which
has priority over this Security Tnstrument; (b) appearing in court; and {c) paying reasonable attorneys! [ces to
protect its interest in the Property and/or rights under this Security Jostrument, tocluding its secured position
in a bankruptcy proceeding. Securing the Property includes, but is not Hmited io, entering the Property to
make repairs, change locks, replace or bonrd up doors and windows, drain water from pipes, eliminate
building or other code violations or dangeraus conditions, and have utilities turoed on or off. Although
Lender may toke action under this Section 9, Lender does oot buve to do so ond is not under any duty or
obligation to do so. It is agreed that Lentler incurs no linbility for not king any or ol} sclions authorized
under this Section 9.

Any amounts disbursed by Leader wader this Section 9 shall become udditienal debt of Borrower
secured by this Security Jnstsument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, wilh such interest, upon notice from Lender to Borrower requesting
payrnent. :

If this Security Instrument is on a feaschold, Borrower shall comply with al) the provisions of the ease.
If Borrower acquires fee title to the Property, the Ieaschold and the fee title shall oot merge unless Lender
aprecs to the merger in writing. :

10, Mortgage Insurance. If Lender required Morigage Insurance os a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Josuranee in effect. If, for any teason,
the. Morigage Insuraace coverage required by Lender censes to be available from the morigage insurer that
previously provided such insurance and Borrower was required io make separately designated payments
toward the premiums for Mortgage Insurance, Borrower sball pay the premiums required to obtain coverage
substanually equivalent to the Morignge Insurance previously in effect, at o cost substantially equivalent to
the cost to Borrower of the Mortgage Josurunce previously in effect, from an alternate mortgage insurer
selected hy Lender. If substantially equivalent Mortgage Insurance coverage is oot availuble, Borrower shall
continue to pay lo Lender the acount of ihe separately designated paymenis thot were due when the insurance
coverage ceased to be in effect. Lender will accept, use and retain these paymenis as a non-refundable Joss
reserve in liew of Mortgoge Insurance. Such loss reserve shalt be oon-refundable, notwithstanding the fact thet
the Lonn is ultimatefy paid in full, and Lender shall pot be required to pay Borrower any interest or earnings
on such loss reserve. Lender can oo longer require foss reserve payments if Mortgage Insurance coverngs (in
the amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes
availuble, is obtained, and Lender requires separately designated payments towerd the premiums for Mortgage
Insurance. Jf Lender required Marigege Insurance as a condition of making the Loan and Borrower was

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required to make separately designated payments toward the premiums for Mortgage Josurance, Borrower
shall pay the premiums required 10 maintain Mortgage Insurance in effect, or to provide 2 non-refundable Joss
reserve, unl Lender's requirement for Morignge Insurance cnds in accordance with ony written aprecmenotl
petweeo Borrower and Lender providing for such termination of until termination is required by Applicable
Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgnge Insurance reimbutses Lender {or any eotity that purchases the Notc) for certain losses it may
incur if Borcower does not repay the Loaa as agreed. Borrower is not a party to the Morigage Insurance,

Mortenge insurers evaluate thelr total risk an aif such insurance in force from ume to time, and may
eater into apreemeais with ober parties that share or modify their risk, or reduce losses. These ngrecments are
on terms and condiuons that are sntisfactory to the mortgage insurer and the other party (or parties) to these
agreements, These agreements may require the morigege insurer to make paymicats using any source of funds
thal the mortgape insurer may have available (which may include funds obtained from Mortgage Insurance
premiums).

Ag @ resull of these agreements, Lender, any purchaser of the Note, apolher insurer, any reinsurcr, ony
other entity, or any affiliate of any of the foregoing, may reccive (directly or indirectly) amounts that derive
from {or might be characterized as) 2 portion of Borrower's payments for Monguge Insursnce, in exchange
for shurise or rnodifying the mortgage insurer's risk, or reducing losses. Hf such agreement provides that an
affilinte of Lender takes a shore of the insurer's risk in exchange for a shore of the premiums paid to the
insurer, the arrangement is often termed "captive reinsurance.” Further: ‘

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurunce, or any other terms of the Loan, Such pgrtements will not increase the amount
Borrower will owe for Mortgage Insurance, ond they will not entitle Borrower to any refund,

(b} Any such agreements will not affect the righis Borrower hos - if any - witb respect to the
Mortenge Insurance onder the Homeowners Protection Act of 1998 or any other Inw. These rights may
Include the right to receive certain disclosures, to request ond obtain cancellation of the Mortgage
Jnsurance, to have the Mortgage Insurance terminated automatically, and/or toe recelve o refund of any
Mortgage Insurance premiums that were pnearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellancous Proceeds are hereby
assigned to and shail be paid to Lender, -

Ifthe Property is damaged, such Miscellaneous Proceeds sholl be applied wo restoration or repair of the
Propecty, if the restoration or repair is economically feasible and Lender's security is not lessened. During
such repair and restoration period, Lender sball have the right to hold such Miscellaneous Proceeds until
Lender has had ao epportunity to inspect such Property to ensure the work bas been completed to Lender’s
satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
restorotion in a single disbursement or in @ Scrics of progress payments 5 the work is completed. Unless an
agreement is made in writing or Applicable Law requires interest to be pat on such Miscellaneous Proceeds,
Lender shill not be required to pay Borrower any interest or eurnings on such Miscellaneous Proceeds. If the
restorntion or repair is pot economically feasible or Lender's security would be tcssened, ihe Misce]ianeous
Proceeds shall be applied to the suns secured by this Security Instrument, whether or aot then due, with the
excess, if any, paid to Borrower, Such Miscellancous Proceeds shall be applied in the order provided for in
Section 2.

In the event of a total taking, destruction, or foss in value of the Property, the MisceHaocous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or opt then duc, with ihe excess, if
any, piid to Borrower.

Io the event of a partial taking, destruction, ar loss ia value of the Property in which the fair morket
value of the Property immediately before the partial taking, destroctiog, or loss in value is equal to or greater
then the amount of the sums secured by this Security instrament immeciiately before the purtiot taking,
destruction, or Joss in velue, woless Borrower and Leader otherwise agret in writing, the suras secured by this
Security Instrument shall be reduced by the amount of the Miscellancous Proceeds multiplied by the
following fraction: (a) the total smount of ibe sums secured immediately before the partial aking, destruction,
or Joss in value divided by ¢b) the fair market value of the Property immediately before the partiol wking,
destruciion, or foss in value, Any balance shalt be paid to Borrower.

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In the event of a partial taking, destruction, or loss in value of the Property is which the fair market
value of the Property immediately before the partial taking, destruction, or Joss in value is tess than the
nmount of the sums secured immediately before the partin) taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security instrument whether or not the sums ore then due.

Hf the Property is abandoned by Borrower, or if, after notice by Lender io Borrower that the Opposing,
Party {as defined in the nex! sentence) offers to make an award to sete a elnim for damages, Borrower Fails
io respond to Lecder within 30 days after the date the nolice is given, Lender is authorized to collect and
apply the Miscellaneous Proceeds cither lo testoratiog or repair of the Property ar to the sums secured by this
Security Instrument, whether or nal thea duc. “Opposing Party” means the third party that owes Borrower
Miscelicneous Proceeds or the party ngainst whom Borrower bas 1 right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or procerding, whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of the Property or other material impairment of Leader's interest
in the Property or ripbls wader this Security Instrument. Borrower can cure such a default and, if acceleration
has occurred, reinstate es provided in Section 19, by causing the action er proceeding to be dismissed with a
ruling that, in Lender's judgment, precludes forfelture af the Property or olher material impsirnent of
Lender's Interest in the Property er rights under this Security Jastrument. ‘The proceeds of any award or claim
for damages thot are altributoble to the impairment of Lender's interest in the Property ace hereby assigned
god shell be paid to Leader.

All Miscellaneous Proceeds that ere not epplied to restoration or repair of the Property shall be applied
in the order provitied for in Section 2. .

12, Borcower Not Relensed; Forbearance By Lender Not a Walver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
io Borrower or eny Successor in Interest of Borrower shall aot operstc to releese the linbilily of Borrower or
any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any

’ Successor in Interest of Borrower or to refuse to extead time for payment or otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand mate by the original Borrower or
any Successors in Interest of Borrower. Any forbearonce by Lender in exercising any tight or remedy
includiag, without limitation, Leader's acceptunce of payments from third persons, entities or Successors in
Interest of Borrower or in amounts less then the amount then due, shall sot be a waiver of or preclude the
exercise of any right or remedy.

13. Joint and Severn! Liability; Co-slgners; Successors and Assigns Bound. Borrower covenants and
aprees that Borrower's obligations and Jinhility sball be joint ond several. However, any Borrower who
co-signs this Security Instrument but does not execute the Note (a “co-signer"): (0) is co-signing this Security
Instrument only to mortgage, grant aod convey the co-signer's interest in the Property unter the iecms of this
Security Instrument; (b) is not personully obligated to pay the sums secured by this Security Instrument; and
(©) agrees thot Lender and ony other Borrower can agree to extend, modify, forbear or make any
necommodations with regard io the terms of this Securily Instrument or the Note without the co-siguer's
conscit,

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
Borrower's rights and benefits under this Security Instrument, Borrower shall not be released from
Borrower's obligations snd liability under this Security lostrument waless Lender ngrees to such release in
writing. The covenants and agreements of this Security Instrument shal! bind (except as provided in Section
20) and benefit the successors and assigns of Leader.

34, Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property ant rights uader this
Security Instrumeat, inching, but not limited to, ailtorn¢ys' fees, property inspection and valuation fees. In
regard to any other fees, the absence of express euthority in this Security Instrument to charge a specific Ice
io Borrower shall not be construcd 25 a prohibition on the charging of such fee. Leader may oot charge fees
that ore expressly probibited by this Security Instrument or by Applicable Law.

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1 the Loan is subject to a law which sets maximum Joan charges, oad thal law is finally interpreted so
thal the inlerest ar other joan charges collected or to be collected in consection with the Loan exceed the
permitted limits, then: (9) any such Joan charge shall be reduced by the amount necessary to reduce the charge
to the permitted limit; ead (b) any sums already collected fram Borrower which exceeded permitted limits
will be refunded ip Borrower, Lender may choose to make this refund by reducing the principal awed under
the Note or by making o direct payment to Borrower. If a refund reduces principal, the reduction will be
treated as a partin) prepayment withoul any prepayment charge (whether ar aot a prepayment charge is
provided for under ihe Note). Borrower's acceptance of any such refund made by direct payrica! to Bartower
will constitute a waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Jastument must
be in writing. Any sotice to Borrower in connection with this Security Instrument shall be deemed to have
been piven to Borrower when mailed by first class mail or when actually delivered ta Borrower's aotice ,
address If sen{ by other menns. Notice to any one Borrower shall constitute notice to al] Borrowers uniess
Applicable Law expressly requires otheewise. The notice address shell be the Property Address unless
Borrower has designated o substitute notice address by wolice to Leeder. Borrower shall promptly notify
Leader of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
address, then Borrower shall only report a change of address through thet specified procedure. There may be
only cue designated notice address under this Security Instrument ot any one time. Any notice to Lender shall
be given by delivering it or by mailing it by first class mil to Lender's address slated herein unless Lender
has designated nnother address by notice to Borrower, Any notice in connection with this Security Instrument
shall oot be deemed to have been piven to Lender uotil acwally received by Lender, If any notice required by
this Security Instrument is alse requised under Applicable Law, the Applicable Law requirement will solisty
the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules af Constracilon. This Security Instrument shall be governed
by Federal Iow and the Jaw of the jurisdiction in which the Property is located. All rights and obligations
contained in this Sccurity Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, bul
such silence shall oot be construed as a prohibition ugainst agreement by contract. In the event that nay
provision or clause of this Security Instrument er the Note conflicts with Applicable Law, such conflict shall
not affect other provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.

As used in this Security Instrument: (a) words of the mosculine gender sholl men aod, include
corresponding, neuier words or words of the feminine gender, (b) words in the singular shall mean aad
include the plural nad vice versa; and (c) the word "may" gives sole discretion without any obligation to take
any action.

17. Borrower's Copy. Borrower shall be gives one copy of the Note and of this Security Instrument.

18, Transfer of the Property or a Beneficin) Interest in Borrower. As used in this Section 18,
"Interest in the Property" mcans any lepal or beneficial interest in the Property, including, but not limited to,
those beneficiol interests transferred In a bond for deed, contract for deed, Insinliment sales contract or escrow
ngrcement, the intent of which is the iransfer of title by Borrower at a Future dale to a purchaser.

If nll or any part of the Property or eny Interest in the Property is sold or transferred (or if Borrower is
not a natural person sod a beneficial interest in Borrower is sold or transferred) without Lender's prior writen
consent, Leader may require immediate poyment in full of all sums secured by this Security Instrument
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

IF Lender exercises this aplion, Lender shall give Borrower notice of acceleration. The notice shali
provide a period af not Tess than 30 days from the date the notice is piven in accordance with Section 15
within which Dorrower must pay all sums secured by this Security Instrument. If Borrower fails lo pay these
sums prior to the expiration of this period, Lender may invoke epy rermedics permitted by this Security
Instrument without further sotice or demand on Borrower,

19, Borrower's Right to Relostate After Accelerutlon. If Borrower miccts certain conditions,
Borrower shall have the right to have eofercement of this Security Instrument disconloued at eny time prior
io the encliest of: (a} five days before sale of the Property pursuant lo nay power of sale contained in this

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Security Instrument; (b) such other period as Applicable Law might specify for ihe termination of Borrower's
Tight to reiastate; or (¢) entry of a judgment eoforcing this Security Instrument. Those cooditions are that
Borrower: {2) pays Lender al] sums which then would be due under this Security Instrument and the Note as
if oo acceleration bod occurred; {b) cures any default of any other covenants or agreements; (Cc) pays all
expenses incurred in enforcing this Security Instrumeal, including, but aot limited to, reasonable attorneys’
fers, property inspection end valuation fees, and other fees incurred for the purpose of protecting
Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may rensonably require te assure that Lender's intercst in the Property and rights uader this
Security Instrument, cod Borrower's obligation to pay the sums secured by this Security lostrument, shall
continue upchenged. Lender may require that Borrower pay such reinstalement sums and expenses in one or
more of the following forms, as selected by Lender: (a) cash; (b) money order; (c} certified check, bank
check, treasurer's check of cashier's check, provided any such check is drawn upon an instituiion whose
deposits are insured by o federul agency, instrumentulity or entity; or (a) Electronic Funds Traasfer. Upon
Teinstalement by Borrower, this Security Jastrument and obligations secured hereby shall remain fully
effective as if po nocelcration had occurred, However, this right to reinstate shall not apply in the case of
acceleration under Section 1B.

20. Sale of Note; Change of Loon Servicer; Notice of Grievance. The Note or # partial interest in the
Note (together with tuis Security Instrument) can be seld one or more times withou! prior nolice to Borrower.
A sole might result in a chooge io the entity (known as the "Loon Servicer”) that collects Periodic Payments
due under the Note aad this Securily Iastrument and performs other morigage loan servicing obligations
under the Note, this Security Instrument, atd Applicable Law. There also might be one or more changes of
the Loan Servicer unrelated to 0 sole of the Note. if there is a change of the Loan Servicer, Borrower will be
given wrilteo notice of the change which will stale the oome eod address of the ocw Lona Servicer, the
address to which payments should be made and any other information RESPA requires in connection with a
Howes of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other
than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the
Loan Servicer or be treosferred to 8 successor Loan Servicer and arc not assumed by the Note purchaser
uless otherwise provided by ihe Note purchaser.

Neither Borrower nor Leader may commence, joln, or be joined to any judicial action (as either a0
individual litigant or ihe member of a class) that orises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty awed by reason af,
this Security Instrument, until such Borrower or Leader bas notified the other party (with such notice given in
complinnce with the requirements of Section 15) of such alleged breach aod afforded ihe otber party hereto a
reasonable period after the giving of suck notice to inke corrective action. 1f Applicable Law provides a time
period which must clapse before certain action can be taken, that lime period will be deemed to be reasonable
for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
to Section 22 and the notice of acceleration given to Borrower pursuant to Section 14 shall be deemed to
satisfy the notice ood opportunity to take corrective action provisions of this Section 20,

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
substances defined as toxic or hazardous substanecs, polluinnis, or wastes by Environmental Law and ihe
following substances; gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides nod
herbicides, volatile solvents, materials containing asbestos or formaldehyde, usd rodionciive materials; (5)
"Environmental Law® means federal laws and lows of the jurisdiction where the Property is located that relate
‘o health, safely or covironmental protection; (c) "Environmental Cleanup" includes any response oction,
remedial action, or removal action, as defined in Environmental Law and (d} an "Environmental Condition”
mezos 6 condition that can cause, contribute ta, or othenvise trigger an Enviroomeatal Cleanup.

Borrower shall oot cause or permit the presence, use, disposal, stornge, or relense of any Hazardous
Substances, or threaten to release any Huzertous Substances, on of in the Property. Borrower shall not do,
eor allow anyone else to do, anything affecting ihe Property (a) that is in violajon of any Environmental
Law, (b) which creates an Enviroamestal Condition, or (c) which, due to the presence, usc, or reicase of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
sentcoces sho!) not apply to the presence, usc, or storage on the Property of small quantities of Hazardous
Substances that are generally recognized to be approprinte wo normul residential uses and to maintenance of
the Property (including, bul cot limited to, hazardous substances in consumer products).

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Borrower shall promptly give Leader written notice of (0) any investigation, claim, demand, lawsuit ar
other ection by any governmental or regulatory ageocy or private party involving the Property and any
Hezardous Substance or Environmental! Law of which Borrower has ectual knowledge, (hb) ony
Environmental Condition, inckuding but not limited to, any spilling, leaking, discharge, relense or threat of
release of any Hazerdous Substance, and (c) any condition caused by the presence, use or release of a
Hezardous Substance which adversely affects the value of the Property, If Borrower learns, or ts notified by
any goveromental or regulatory authority, or any private party, that any removal or other remediation of any
Hazardous Substance affecting the Property is necessary, Borrower shall promptly take ail accessory remedial
actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for on
Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree: os follows:

22. Acceleration; Remedies, Lender shall give notice to Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Secucily Instrument {but not prior to
aeceleratlon under Section 18 unless Appileable Law provides otherwise), The notice shall specify: (a)
the default; {b) the action required to cure the default; (c) a date, not less than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) thot failure to cure the
default on or before the date specified in the nolice may result {n acceleration of the sums secured by
this Security Instrument and sole of the Property. The nofice shall further inform Borrower of the
right to relnsinte afer acceleration and the right to bring a court action tp assert the non-existence of a
default or nay other defense of Borrower to acceleration and sale. Uf the default is not cured on or
before the date specified In the notice, Lender at its option may require immedinte payment in full of
al] sums secured by this Security Instrument wiihowt further demand ond may Invoke the power of
sale ond any other remedies permitted by Applicable Law, Lender shall be entitled to colleci ail
expenses incurred in pursuing the remedies provided in this Section 22, Including, but not Mmited to,
reasonable attorneys” fees and costs of title evidence.

If Lender invokes the power of sale, Lender or Trustee shall give to Borrower, the owner of the
Property, and ol! other persons, notice of sale as required by Applicable Law. Trustee shall give public
nolice of sate by advertising, in accordance with Applicable Law, once a week for iwo successive weeks
jo a newspaper haying general circulation in the county or cily in which any part of the Property Is
located, and by such additional or any different form of advertisement the Trustee deems advisable.
Trustee may sell the Property on the cighth day after the first advertisement or any day therenfler, but
not Inter than 30 days following the lost advertisement. Trusiee, without demand on Borrower, shall
sell ihe Property at public auction to the highest bidder at the time and place and under the terms
designated in the notice of aale in one or more parcels and in any order Trustee delermines. Trustee
may pestpone sale of ali or any parcel of the Property by advertising in accordance with Applicable
Law, Lender or its designee may purchase the Property at any sate,

Trustee shoal] deliver to the purchaser Trustee’s deed conveying the Property with special
warranty of (ile, The recitals in the Trustee’s deed shail be prima facile evidence of the truth of the
statements made therein. Trustee shall apply the proceeds of the sale {n the following order: {n) lo
discharge the expenses of executing the trust, including a reasonable commission to Trustee; (b) lo
discharge all tnxes, levies, and assessment, with costs and fnterest Hf these costs have priority over the
lien of this Security Instrument, including the due pro rata thereof for the current year; (c) to
discharge in the order of their priprity, if any, the remaining debts and obligations secured by thls
Security Instrument, ond any Jiens of record Inferior to this Security Instrument under which sale is
made, with lawful Inferest; ond, (d) the residue of the proceeds shail be pokd to Borrower or
Borrower “s assigns. Trustee shell not be required to take possession of the Property prior te the sole
thereof or to deliver possession of the Property to the purchaser al the sale.

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23. Relense. Upon payment of al] sums secured by this Security Instcument, Lender shall request
Trustee to relense this Security Instrument end shall surrender all notes evidencing debt secured by this
Security Instrument to Trusiee. Trustes shall release ibis Sccurily Instrument. Borrower shall pay any
recordation cosis, Lender may charge Borrower 4 fee for releasing this Security Instrument, but only if the fee
is paid to a thind party for services rendered and the charging of the fee is permitted under Applicable Law.

24, Substitute Trustee. Lender, at its option, may from time to time remove ‘Trustee and eppaint a
successor trusiec to any Trustee appointed hereunder, Without conveyance of the Property, the successor
Irustee shall succeed to ail the title, power and duties conferred upon Trustee herein and by Applicahle Law.

NOTICE; THE DEST SECURED HEREBY IS SUBFECT TO CALL IN FULL OR
THE TERMS THEREOF BEING MODIFIED IN THE EVENT GF SALE OR
CONVEYANCE OF THE PROPERTY CONVEYED.

BY SIGNING BELOW, Borrower accepls ood agrecs to the terms ond covenants contained in this Security
Jostrument ang in any Rider executed by Borrower and recorded with it.

EDDY RAMIREZ V -Borrower
(Seal)
«Borrower
(Sent) {Seal}
-Borrower *Borrower
(Seal) (Seal)
-‘Borewsr | -Borrowet
(Seal). (Seal)
-Borrower -Borrower
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STATE OF VIRGINIA, BSXWXSSHNK STAFFORD County, s3:

The foregoing instrument was acknowledged before me this March 10, 2006 by
EDDY RAMIREZ

My Commission Expires:

Entiat Notary Fi
Commcrrenai?s of Yaya Pubic Baad
My Commintion Expires 2208

JOAN MM. WALI

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Ichinty;

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All that certain fot or parcet ofiand, situate, lying and balng in the Potomac Magisterial District, King Gaorge County, Virginia, being
more particulary described as Lot Thirty-Five (35), CHATHAM VILLAGE, Section One, as shown on Plat of Subdivision prepared by
Webb and Associates, recorded in Deed Book 457 at Pags 772, among the land records of King Georga County, Virginia.
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PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER is made this 10th day of
March, 2006 , nd is incorporated into and shall be
deemed to amend aod supplement the Morignge, Deed of Trust, or Security Deed (the "Security Instrument")
of the same date, given by the wodersigned {the "Borrower"} to secure Borrower's ‘Nate to
American Brokers Conduit

(the
"Lender") of the sume date and covering the Property described in the Security Instrument and located at:

4227 BERKLEY COURT, KING GEOAGE, King George, VA 22485

[Property Address]
The Property includes, but is not limited to, a parcel of land Improved with a dwelling, together with olber
such pareels ond cerlain conmon areas and facilities, os described in. ‘The Deed, The Declaration
of Covenants, Conditions and Restrictions

{the ("Declaration"). ‘The Property is' a port of on planned unit development known 45
ODER NOOK ARGS CHATHAM VILLAGE

[Namie of Plnnned Unit Development}
(the "PUD"). ‘The Property also includes Borrower's inlerest fn the homeowners association or equivalent
entity owning or managing lhe common orcas and facilitics of the PUD (the “Owners Associalion") and the
uses, benelits und proceeds of Borrower's intercst.

PUD COVENANTS. In addition to the covenants and agreements made in the Security Instrument,
Borrower aed Lender further covenant aod agree us follows:

A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PUD's
Constituent Documents. The "Constituent Documents" are the (i) Declaration; (if) articles of incorporalion,
trust instrument or any equivelent document which creates the Owners Association; and (iii) any by-Inws or
other rules or regulations of the Owners Association, Borrower shall promptly pay, when dus, all dues and
assessments imposed pursuant to the Constituent Documents.

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MULTISTATE PUD RIDER - Single Family - Fennle Mse/Freddie Mec UNIFORM INSTRUMEND,
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B. Property Insurance. So leng as the Owners Association maintains, with a generally accepted
insurance curritr, 2 "master" or "blanket" policy insuring the Property which is sntisfactory to Lender and
which provides insurance coverage in the amounts (including deductible Jevels), for the periods, and against
loss by fire, hazards included within the term "extended coverage,” and eny other hazurds, including, bul oot
limited 10, earthquakes and Moods, for which Lender requires insurance, then: (7) Lender waives the provision
in Section 3 for the Periodic Payment to Leader of the yearly premium installments for property insurance on
the Property; aad (ii) Borrower's obligation woder Seciion 5 to maintain property insurance coverage oo the
Property is desined satisfied to the extent thot the required coverage is provided by the Gwners Association
policy. :
Whut Lender requires as n condition of this waiver cra change during the term of te loan.

Borrower shall give Leader prompt notice of any Inpse in required property insurance coverage
provided by the master or blanket policy.

In the event of 2 distribution of property insurance proceeds in lieu of restoration or repair following 2
loss to the Property, or to common areas and focilities of the PUD, any proceeds payable to Borrower are
hereby assigned and shall be paid to Lender. Lender sboll apply the proceeds to the sums secured by the
Security Instrument, whether or not theo dee, with the excess, if any, paid to Borrower.

C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure thal the
Qwaoers Association maintains a public liability insurnace policy acceptable in form, amount, and exteat of
coverage to Lender,

D. Condemnation. The proceeds of any eward or claim for damages, direct or consequential, payable
to Borrower in connection with any condemnation or other taking of all or any part of the Property or the
common sreas and facilitits of ihe PUD, or for any conveyance in licu of condemaation, are hereby assigned
and shall be paid to Leader, Such proceeds shall be applied by Lender to the sums secured by the Security
Tastrument as provided in Section 21.

E. Lenders Prior Consent. Borrower shall not, except after notice to Lender and with Lender's prior
written consent, either partition or subdivide the Property or consent be () the abandoamecat or termination of
ihe PUD, except for abandonment of termination required by law in the case of substantial destruction by fire
or other casualty or in the case of a inking by condemnation or eminent domain; (i) any amendment to any
provision of the "Constituent Documents" {f the provision is for the express benefit of Lender; (ii)
icrmination of professionel management and assumplion of self-management of the Gwaers Association; or
fiv) any action which would have the effect of rendering the public Unbility insurance coverege maintalned by
the Owners Association unacceptable to Lender.

F. Remedies, If Borrower does nol pay PUD dues and assessments when due, then Lender may pay
them. Any amounts disbursed by Lender under this paragraph F shall become additional debt of Borrower
secured by the Security Instrument, Unless Borrower and Lender ogree to olher terms of payment, these
amounts shal) bear interest from the date of disbursement al the Note rate acc shall be payable, wilh interest,
upon notice fram Lender to Borrower requesting payrmecnt.

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BY SIGNING BELOW, Borrower accepts ond agrees to ihe terms and provisions contained in this PUD
Rider.

(be) oe (Seal) (Sex!)

EBBY RAMIRGZ / -Bonower : «Borrower
(Scal} (Seal)
-Dorawer Borrower
{Seal} Seal)
-Borower -Borrower
(Seal) (Sen!)
~Borrower -Honuwer
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ADJUSTABLE RATE RIDER
(6-Month LIBOR Index - Rate Caps)
(Assumable during Life ef Loan) (First Business Day of Preceding Month Lookback)

THIS ADJUSTABLE RATE RIDER is made this 10th dayeF March, 2006
and is incorporated into and shall be deemed to amend aod supplement ihe Mortgage,
Deed of Trust, or Security Deed (ihe “Security Instrument") of the seme date given by the
undersigned = (the “"Borower") to secure the Borrower's Adjustable Kate Not {the "Notc") to
American Brokers Conduit

(ihe "Lender"™} of the same daic and covering the property described in the Security
Jostrument aod located at:
4227 BERKLEY COURT, KING GEORGE, King George, VA 22485

[Property Address}

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
AMOUNT THE BORROWER’S INTEREST RATE CAN CHANGE AT ANY
ONE TIME AND THE MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition to the covennois end agreements made in the
Security Instrument, Borrower and Lender further covenant ang apres as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
The Note provides for on initie) interest rate of 6.750 4%. The Note
provides for chonges in the interest cate aod tbe monthly payments, as follows:

4, INTEREST RATE AND MONTHLY PAYMENT CHANGES

{A) Change Dates

The interest rate Twill pay may change on the first day of April, 2011
and may change on that day every sixth month thereaficr. Each date on which my interest
rate could change is called a "Change Date." Ay

Doc #:319901 APPL $:0002201925

MULTISTATE ADJUSTABLE RATE RIDER 6-Month LIBOR Index (Assumable during
Life of Loon} (First Business Day Lookbnck) ~- Single Family - Freddie Mac UNIFORM
INSTRUMENT UMSL 0404

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Page 1 of 4 Initials:

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(B) The Index

Beginning with the first Change Dare, my interest rate will be based oon an Index. The
"Index" is the six month Loodon Interbank Offered Rate ("LIBOR") which is the average of
interbank offered rotes for six-month U.S. dollnr-dcnominated deposits in the Lenton
market, as published in The Wall Street Journal. The most recemt Index figure available as
of the first business day of the month immediately preceding the month in which the Change
Date occurs is called the "Current Index.*

Ifthe Index is co Ionger available, the Nott Holder will choose a new index which is
based upon comparable information. The Note Holder will give me notice of this choice.

(C) Colculation = of Changes

Before cach Change Dale, the Note Holder will calculaic my new interest rie by
adding «= Two and One Quarter
pereenlape point(s) ( 2,250 9%) 10 the Current Index. The Note Holder will then
round ihe result of this sddilion 10 the nearest one-eighth of one percentage point (0.125%).
Subject to ‘the limits stated in Section 4(D) below, this rounded amount will be my ocw
interest rate until the next Change Daic.

The Note Holder will then determine the amount of the monthly payment that would be
sufficient (to repay the unpaid principal that lam expecied to owe ot the Change tote in full
en the maturily dote ot my new interest rote io substantially equal paymenis. The result of
this calculation will be the aew amount of my monthly payment.

(B) Limits on Interest Rate Changes
The interest rate Iam requiced to pay of the first Chonge Dale will not be greater than

11.750 % or Irss thao 2,250 %. Thereofier, my interest rac will
never be tncreased or decreased on any single Change Date by more than
One percentage paini(s) ( 1.000 4%) from the rate of

interest Ihave been paying for ihe preceding six moaths. My interest rate will never be
greater than 11.750 4%,

(E) Effective Date of Changes

My new interest rate will became effective on ench Change Date. 1 will pay the omaunl
of my otw monthly payment begioning on the first monthly payment date after the Change
Date until the amount of my monthly payment changes again.

(F) Notice of Chonges

The Nolte Holder will deliver or mail to me a ootle: of any changes in my Interest rate
nad the amount of my monthly payment before the effective date of soy change. The notice
will include information required by law to be givea to me and also the title and telephone
number of a person who will asswer any question | may have regarding the notice.

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B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Security Instrument is amenoied to read Bs follows:

Transfer of ihe Property or a Beneficial Interest in Borrower. As used in
this Section 18, “Interest in the Property” means soy legal or beneficial interest in
the Property, inchiling, bul oot limited to, those beneficial intercsts transferred ina
bond for deed, contract for deed, installment sales contract or escrow agrecment,
the inteot of which js the tnnsfer of tile by Borrower at a future date lo o
purchaser.

If ell or any part of the Property ar any [nterest in the Property is sold or
transferred (or if Borrower is not 0 aatural person and a beneficial! interest in
Borrower is sold or transferred) without Lender’s prior written consent, Lender may
require immediate payment in full of all sums secured by this Security Josirument.
However, this option shall not be exercised by Lenifer if such exercise is prohibited
by Applicable Low. Lender ulso shall neat exercise this option if: (n} Borrower
causes to be submited to Lender informotioa required by Lender to evaluate the
intended transferee ons if new loan were being made to the transferee; ind (b)
Lendey reasonably determines that Lender's security will not be impaired by lhe
loan assumplion and that the risk of a breach of any covenant or sgreement in this
Sccurity Instrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable
fee ps a condition to Lender's consent to the loan assumption. Lender muy also
require ibe transferee to sign mo nssumplon agreement thet is acceptable to
Lender and that obligates the transferee lo keep all the promises ond agreements
made in the Note and in this Security Instrument. Borrower will continue lo be
obligated under the Note and this Security Instrument unless = Lender releases
Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender
shall pive Borrower osotice of acceleration. The notice shnll provide a period of not
less than 30 days from the dale the notice is piven in nccordance with Section 15
within which Borrower must pay afl sums secured by this Security Instrumeat H
Borrower foils i poy these sums prior to the expiration of this period, Lender may
invoke any remedies perniitted by this Security Instrumeat without further notice or
demand on Borrower,

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BY SIGNING BELOW, Berrower aceepts and agrees to the terms and covenants
contained in this Adjustable Rate Rider.

O Coa (Seal) : (Seal)

EDDY RAMIREZ -Borrower -Borrower
(Seal) {Seal}
-Borrower ~Borrower
{Seal} (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower : ~Borrower
poc #:319904 APPL §:0001201925
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ADDENDUM TO ADJUSTABLE RATE RIDER

This addendum is made March 10th, 2006 and is

incorporated into and deemed to amend and supplement the Adjustable Rate Rider of the
same date,

The property covered by this addendum is described in the Security Instrument
and located at:
4227 BERKLEY COURT, NING GEORGE King George, VA 224

AMENDED PROVISIONS
in addition to the provisions and agreements made in the Security Instrument,
T/we farther covenant and agree as follows:

ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES

Limits on Interest Rate Changes

The interest rate I am required to pay at the first Change Date will not be greater
than 12.750% or lessthan 2.250 %. Thereafter, my adjustable interest rate will never
be increased or decreased on any single Change Date by more than 4-990 _ percentage
point(s) ( 1-290 %) from the rate of interest I have been paying for the preceding six (6)
months, My interest rate will never be greater than _12.750%. My interest rate will never
be less than 2.250%.

TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN
BORROWER

Uniform Covenant 18 of the Security Instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the
Property, including, but not limited to, those beneficial interests transferred in a bond for
deed, contract for deed, installment sales contract or escrow agreement, the intent of
which is the transfer of title by Borrower at a fisture date to purchaser.

If all or any part of the Property or any Interest in the Property is sold or
transferred (or if Borrower is not a natural person and a beneficial interest in Borrower is
sold or transferred} without Lender's prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrument. This loan is
not assumable. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law.

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If Lender exercises this option, Lender shall give Borrower notice of acceleration.
The notice shall provide a period of not less than 30 days from the date the notice is given
in accordance with Section 15 within which Borrower must pay all sums secured by this
Security Instrument. If Borrower fails to pey these sums prior ta the expiration of this
period, Lender may invoke any remedies permitted by this Security Instruament without
further notice or demand on Borrower.

To the extent the provisions of this addendum conflict with the provisions of the
Note, seen panes or Adjustable Rate Rider, this Addendum shall control.

In Withess Thereof, Trustor has executed this addendum.
t .

Witness %

March 10, 2006 Coy

Date Berrover Signature EDDY RAMI PED

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INTEREST-ONLY ADDENDUM
ADJUSTABLE RATE RIDER

THIS INTEREST-ONLY ADDENDUM is madethis_ 20th —dayof ___ March
2006) and is Incorporated inte and shall be deemed to amend and supplement the Adjustable Rate Note (the
“Note") and the Mortgage, Deed of Trust, or Security Deed (the “Security Instrument’) of the same date given by
the undersigned (“Horrawer’)} to secure Borrower's Adjustable Rate Note (the Note") to American
Brokara Conduit (“Lender”) of the same date and covering the property
described in the Security Insirument and located at: 4227 BERKLEY COURT, RING GEORGE, Ring

George, VA 22455

[Property Address]

THIS ADDENDUM SUPERSEDES Section 3{A) and (B), Section 4(G) of the Note. None of the other
provisions of the Note are changed by this addendum.

3, PAYMENTS
(A). Time and Place of Payments
1 will make a payment on the first day of every month beginning May_1_,_ 2006
Before the First Principal and Interest Payment Due Date as described in Section 4 of this Note, my payment will

consist only of the interest duc en the unpaid principal balance of this Note, Thereafter, I will pay principal and
interest by making a payment every month as provided below,

I will make my monthly payments of principal and interest beginning on the First Principal and Interest
Payment Due Date as describe in Section 4 of this Note, ] will make these payments every month until I have paid
all of the principal and interest and any other charges described below that I may owe under this Note. Eech monthly
payment will be applied as of its scheduled due date, aod if the payment includes both principal and interest, it will
be applied to interest before Principal. W,on April 1, 2036 , T stilt owe amounts under this
Note, | wil! pay those amounts in full on that dale, which Is called the “Maturity Date.”

T will make my monthly payments at: PO Box 660029, Dallas, TX 75266-0029
or ala different place if required by the Note Holder,

@) Amount of My Initial Monthly Payments

My monthly payment will be in the amount of U.S. $ _ 2,842.99 before the First Principal
and Interest Payment Due Date, and thereafter will be in amount sufficient to repay the principal and interest a1 the
rate determined as deseribed in Section 4 of this Note in substantially equal installments by the Maturity Date. The
Note Holder will notify me prior to the date of change in monthly payment.

4. ADFUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES
(G) Date of First Principal and Interest Payment

The date of my first payment consisting of bath principal and interest on this Note (the "First Principal and
Interest Payment Due Date") shallbe__- May 1, 2016

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[TB} Interest-Only Aidec
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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenunts contnined in this Inferest-Only
Addendum.

(Seal} (Beal)

EDDY RAMIREZ C_ Borrower Borrower
(Seal) (Sesl}

Borrower Banrower

{Seal} (Sra)

Borrower Borrower

(Seal) (Scal)

Barer Borrower

{Sign Original Only}

AHIM-1020R (09/05)

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Loan #: 0001201825
PREPAYMENT RIDER TO SECURITY INSTRUMENT

THIS PREPAYMENT RIDER is made this 10th of March , 2006 | and
is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust
or Security Deed (the “Security Instrument") of the same date given by the undersigned (the
"Borrower") to sceure Borrower's Noteto American Brokers Conduit

(the “Lender’)

of the same date and covering the Property described in the Security [Instrument and located at:

4227 BERKLEY COURT, KING GEORGE, King Georga, VA 22485

[Property Address]

PREPAYMENT COVENANTS, In addition to the covenants and agreements made in
the Security Instrument, Borrower and Lender further covenant and agrie as follows:

have the right to make payments of principal at any time before they are due. A
prepnyment of all of the unpaid principal is known asa "full prepayment.” A prepaymen
of only part of the unpaid principal is known as a "partial prepayment," :

Except os provided below, ] may make a full prepayment or a partial prepayment at
any time without paying any penalty. However, if within the first thrae
year(s) after the execution of the Security Instrument] make full prepayment, I will pay a
prepayment charge in sn amount equal to two percent (2%) of the unpaid principal
balance.

1f] make a partial prepayment equal to one or more of my monthly payments, the
due date of my next scheduled monthly payment may be advanced no more than one
month. IFE make a partial prepayment in any other amount, I must still make all
subsequent monthly payments os scheduled.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions
contained in this Prepayment Rider.

BODY y RAMIREZ C/

Multistate (CAP2) Prepayment Rider AHIM-20035(CAP2) (0705)
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